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               UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
_____________________________________________________________

UNITED STATES OF AMERICA,                              Docket No.: 20-CR-133 (DSD/BRT)

                            Plaintiff                  NOTICE OF APPEARANCE

v.

Mena Yousif,

                        Defendant
_____________________________________________________________________________

                                      Bruce M. Rivers
                                   701 Building Suite 300
                                  701 Fourth Avenue South
                                  Minneapolis, MN 55415
                                       (612) 339-3939
                                    Attorney I.D 282698



I hereby represent the above-named defendant.



                                                       RIVERS LAW FIRM, P.A.



Dated: March 15, 2021                                  s/ Bruce Rivers
                                                       Bruce Rivers, (#282698)
                                                       Attorney For Defendant
                                                       701 Building Suite 300
                                                       701 Fourth Avenue South
                                                       Minneapolis, Minnesota 55415
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